      Dated: 7/2/2019
                 IN THE     UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  AT NASHVILLE

    IN RE:

    MARY A. GORDON                                      Case No. 12-09605

             Debtor.

         ORDER AND NOTICE TO FILE CLAIMS AGAINST SURPLUS FUNDS

           It appears to the Court that the Trustee has sufficient funds to pay all
    allowed claims in full and that there are surplus funds remaining which may
    be distributed to creditors who have not filed their claims.
           It further appears to the Court that pursuant to Bankruptcy Rule 3003
    (c)(3), the Court may grant a reasonable extension of time for filing the
    claims against the surplus.
           WHEREFORE, it is hereby ORDERED that the __29th____day
    of___July________, 2019, is fixed as the last day of the filing of claims against
    the surplus funds remaining after payment in full of all claims which have
    been filed and allowed.
           It is further ORDERED that claims which have been filed but have
    not been allowed because they were not filed prior to the bar date for filing
    claims shall be treated as having been filed against any surplus and need not
    be refiled.
    This order was signed and entered electronically as indicated at the top of the first page.



    Submitted for entry:


    /s/ T. Larry Edmondson____
    T. Larry Edmondson, Trustee
    800 Broadway, 3rd Floor
    Nashville, TN 37203
    615-254-3765 phone
    615-254-2072 fax
    larryedmondson@live.com



                                                                        This Order has been electronically
                                                                        signed. The Judge's signature and
                                                                        Court's seal appear at the top of the
                                                                        first page.
                                                                        United States Bankruptcy Court.

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